         Case 15-31086 Document 1179 Filed in TXSB on 02/14/17 Page 1 of 5



                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE                                                     § Confirmed Chapter 11
                                                          §
UNIVERSITY GENERAL HEALTH                                 § Case No. 15-31086
SYSTEM, INC. et al.,                                      §
                                                          § Jointly Administered
                           Debtors. 1                     §
                                                          §

                STIPULATION RESOLVING THE LIQUIDATING TRUSTEE’S
                 OBJECTION TO THE ADMINISTRATIVE EXPENSE CLAIM
                     FILED BY COMMUNITY PATHOLOGY P.L.L.C.

                                    [Related Docket Nos. 884 & 1012]

         Michael D. Warner, the Liquidating Trustee (the “Trustee”) for University General

Health System, Inc., et al., pursuant to that certain Order Confirming Joint Chapter 11 Plan of

Liquidation [Docket No. 799], and that certain Liquidating Trust Agreement, entered into on

February 4, 2016, and Community Pathology P.L.L.C. (“Community Pathology” and, together

with the Trustee, the “Parties”), by and through its undersigned counsel, hereby enter into this

Stipulation Resolving the Liquidating Trustee’s Objection to the Administrative Expense Claim

Filed by Community Pathology P.L.L.C. (the “Stipulation”), as evidenced by their signatures

affixed hereto. 2

         WHEREAS, on February 27, 2015, the Debtors filed voluntary petitions for relief;



1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: University
General Health System, Inc. (2436), UGHS Autimis Billing, Inc. (3352), UGHS Autimis Coding, Inc. (3425),
UGHS ER Services, Inc. (6646), UGHS Hospitals, Inc. (3583), UGHS Management Services, Inc. (4100), UGHS
Support Services, Inc. (3511), University General Hospital, LP (7964), and University Hospital Systems, LLP
(3778).

2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Plan.



54892/0002-14135066v1
           Case 15-31086 Document 1179 Filed in TXSB on 02/14/17 Page 2 of 5



           WHEREAS, on November 6, 2015, the Debtors and Foundation Surgical Hospital

Holdings, LLC (“Foundation”) entered into that certain Purchase and Sale Agreement (the

“Sale Agreement”), 3 whereby certain of the Debtors agreed to sell substantially all of the assets

used in their business operations and the equity interest in that certain entity, University General

Hospital, LP;

           WHEREAS, on November 9, 2015, the Court approved the Debtors’ proposed sale of

their assets and the hospital operations to Foundation [Docket No. 691]. The sale closed on

December 31, 2015;

           WHEREAS, pursuant to the Sale Agreement, the Debtors and Foundation agreed to

apportion responsibility for certain post-petition expenses, whereby Foundation was to be

responsible for all post-petition obligations due on or after November 21, 2015.                       See Section

2.03 of the Sale Agreement;

           WHEREAS, pursuant to the Sale Agreement, Foundation specifically assumed “Post-

Petition Accounts Payable solely to the extent exclusively related to the Transferred Assets or the

Transferred Employees who are employed by Buyer or its Affiliates effective as of or after the

Closing.” Id. The term “Post-Petition Accounts Payable” means “all accounts payable of the

Debtors arising after the Petition Date in the Ordinary Course of Business that are not more than

40 days outstanding, but excluding amounts due under the DIP Facility and (ii) the unpaid

wages, salaries and employer's and employee's Tax withholding obligations for Transferred

Employees that are accrued and unpaid in the Ordinary Course of Business as of the Closing

Date for the last period prior to the Closing which payroll obligations become due following the

Closing.” Section 1.01 of the Sale Agreement;


3
    A copy of the Sale Agreement is located at Exhibit 1 to the Plan. See Confirmation Order [Docket No. 799-2].


                                                           2
54892/0002-14135066v1
         Case 15-31086 Document 1179 Filed in TXSB on 02/14/17 Page 3 of 5



         WHEREAS, on January 11, 2016, the Court confirmed the Plan [Docket No. 799]. On

that same date, the Official Committee of Unsecured Creditors filed a Notice of Designation of

Liquidating Trustee [Docket No. 794], pursuant to which Michael D. Warner, Esq. was

designated Trustee of the Liquidating Trust;

         WHEREAS, on February 4, 2016, the Plan became Effective [Docket No. 835] and

pursuant to Article 7.2 of the Plan, a Liquidating Trust was created on the Plan’s Effective Date,

to be managed by the Trustee;

         WHEREAS, pursuant to the Plan, the last day to assert non-professional administrative

expense requests was February 24, 2016 [See Plan, § 1.1 and 1.88];

         WHEREAS, on February 24, 2016, Community Pathology filed an application for

payment of a purported administrative expense claim, in the amount of $22,416.07 [Docket No.

884] (the “Claim”). The Claim consisted of: (i) one invoice which reportedly became due on or

just before November 21, 2015, which totaled $5,817.95 (the “Asserted Trust Obligation”);

and (ii) three invoices which became due on or after the November 21, 2015 cutoff, totaling

$16,598.12 (the “Asserted Foundation Obligation”);

         WHEREAS, on May 23, 2016, the Trustee filed an Objection to the Claim [Docket No.

1012] (the “Objection”); and

         WHEREAS, the Trustee and Community Pathology have conferred and agreed to settle

the Objection and the Claim, in order to avoid the cost, expense, and delay of further litigating

the validity of the Claim.




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54892/0002-14135066v1
         Case 15-31086 Document 1179 Filed in TXSB on 02/14/17 Page 4 of 5



         Based on the foregoing recitals, the Parties Stipulate and Agree as follows: 4

         1.       Community Pathology’s Claim. Community Pathology shall be entitled to an

administrative claim in the amount of $5,817.95 (the “Allowed Claim”).

         2.       Community Pathology’s Waiver of Claims. Notwithstanding the amount asserted

in the Claim, Community Pathology agrees that the Allowed Claim represents the entirety of any

and all liability which Community Pathology may assert against the Debtors, their estates, the

Trust or the Trustee relative to the Claim. Community Pathology agrees that it shall not assert

any further claims against the Debtors, the Trusts, the Estates, or the Trustee for any other

administrative expense or post-petition amounts due, including for amounts due that are related

to the Asserted Foundation Obligation.

         3.       Community Pathology’s Remedies against Foundation. Nothing herein shall be

construed to, in any way, affect Community Pathology’s right to seek payment from Foundation

on the Asserted Foundation Obligation. Moreover, nothing construed herein shall be deemed to

be a determination of any of Community Pathology’s rights as against Foundation or as an

allowance of a claim as against Foundation.

         4.       The Objection. Upon the Court’s approval of this Stipulation, the Trustee agrees

the Objection shall be deemed to be resolved.

         5.       Distributions on the Allowed Claim. Notwithstanding anything to the contrary

herein, the Trustee shall not make any distribution on the Allowed Claim until such time that: (i)

the Trustee determines, in his sole and exclusive discretion, after consultation with the Post-

Confirmation Committee, that there are sufficient funds available for distribution to similarly



4
  The preceding recitals are intended to be factual recitations of the Parties and are therefore incorporated into the
stipulated terms herein, and are intended to be incorporated into the Court’s Order approving this Stipulation.


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54892/0002-14135066v1
         Case 15-31086 Document 1179 Filed in TXSB on 02/14/17 Page 5 of 5



situated creditors; and (ii) the Trustee determines the appropriate amount to be distributed, to the

extent there are insufficient funds available to pay similarly situated creditors in full.

          6.      Jurisdiction. The Court shall retain exclusive jurisdiction to hear and determine

all matters or disputes arising from or relating to the interpretation and/or enforcement of this

Stipulation.

          7.      Effectiveness and Enforceability of this Stipulation. The Parties expressly agree

and acknowledge that this Stipulation is subject to the Court’s approval and absent the Court’s

entry of an Order approving this Stipulation, this Stipulation shall have no force and effect and

shall not otherwise bind or obligate the Parties. The Parties further agree that no subsequent

Order of this Court shall modify the terms of this Stipulation, except as agreed to in writing by

the Parties.


AGREED TO AS TO FORM AND CONTENT:

ATTORNEYS FOR COMMUNITY                                LIQUIDATING TRUSTEE FOR THE
PATHOLOGY P.L.L.C.                                     UGHS LIQUIDATING TRUST

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                                                   5
54892/0002-14135066v1
